               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:10-00250
                                                  )      Judge Trauger
MATTHEW PAUL DEHART                               )

                                        ORDER

       The Motion to Continue Revocation Hearing And Status Conference (Docket No. 175) is

GRANTED. It is hereby ORDERED that the status conference and revocation hearing are

RESET for Thursday, April 4, 2013, at 9:00 a.m.

       It is so ORDERED.

       ENTER this 30th day of January 2013.



                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




 Case 3:10-cr-00250      Document 176         Filed 01/30/13   Page 1 of 1 PageID #: 944
